[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM FILED APRIL 24, 1996
The court accepts the general proposition that if "one count of the complaint sounds in negligence and another count attempts to sound in recklessness by relying on the same fact pattern as the negligence count and simply referring to such conduct as recklessness, the cause of action for recklessness has not been sufficiently alleged." Anderson v. Ansaldi 8 Conn. Conn. L. Rptr. 242 (January 22, 1993) (Berger. J.).
However, in the present case we are not dealing with common law violations but rather statutory violations. Connecticut General Statutes § 14-295 provides that the trier of fact may award enhanced damages if "the injured party has specifically pleaded that another party has deliberately or with reckless disregard operated a motor vehicle in violation" of certain statutes. The plaintiff has so alleged in his second count of the revised complaint.
The motion to strike is therefore denied. CT Page 2895-III
HAUSER, J.